

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-65,912-01






EX PARTE JAMES A. DAVENPORT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR 4922 IN THE 33RD JUDICIAL DISTRICT COURT


FROM LLANO COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of delivery of
marihuana and sentenced to twenty years' imprisonment.   

	Applicant contends that his  counsel rendered ineffective assistance because  counsel failed
to inform Applicant that he could file a pro se appeal if he could not afford to retain counsel to
represent him on appeal.    

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance
of counsel.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d). 
In the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact, first as to whether Applicant was informed by trial
counsel or by the court of his right to appointed counsel on direct appeal.  The trial court shall also
make findings as to whether Applicant indicated any desire to appeal his conviction, and as to
whether trial counsel filed a notice of appeal on Applicant's behalf.  The court shall make findings
as to whether and when trial counsel was permitted to withdraw from the representation, and as to
whether appellate counsel was ever appointed in this case.  The court shall make findings as to
whether Applicant was denied his right to a meaningful appeal because Applicant's counsel failed
to advise him of his appellate options or preserve his appellate rights by filing a notice of appeal. 
The trial court shall also make any other findings of fact and conclusions of law that it deems
relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed: October 25, 2006

Do not publish


